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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,

                 Plaintiff

         v.                                             C.A. No. 1:21-cv-01456-MN

 CHANBOND, LLC,                                         PUBLIC VERSION filed
                                                        on October 22, 2021
                 Defendant.



                                            COMPLAINT

        Plaintiff CBV, Inc. (“CBV” or “Plaintiff”) hereby brings this civil action against Defendant

ChanBond, LLC for breach of contract, specific performance, injunctive relief and declaratory

relief, and in support thereof represents upon knowledge, information, and belief, as follows.

                                          INTRODUCTION

        1.      This is an action for breach of contract, declaratory judgment, injunctive relief, and

seeking specific and prompt performance of payments due and owing to CBV pursuant to the

                                                                                          , which has

been stymied by the actions of both the former and current owners of ChanBond.

        2.      Under the        , CBV                           to ChanBond in exchange for




        3.      In furtherance of                        , ChanBond brought numerous patent suits

in this District (collectively, the “Patent Suits”).

        4.      In June of 2021, ChanBond settled the Patent Suits                                   .
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          5.     Accordingly, under Section        of the       , CBV is entitled to payment of



ChanBond has indicated that no payment will be made

          6.     However, ChanBond has breached the

                                                CBV is entitled to specific performance of the

because                                                                                        will cause

CBV to suffer significant, negative tax implications if payment is not made by the end of calendar

year 2021.

          7.     Apart from breaching

               , ChanBond and its former and current owners, Dierdre Leane and William “Billy”

Carter,

                                                               Unified also tortuously interfered with

CBV’s rights under the           by entering into certain of these ancillary agreements and by



                                                                                  .

          8.     Ms. Leane has improperly asserted that, at the time of entry into the            , CBV

agreed to                                     . This is plainly false. First, Ms. Leane’s predecessor,

Mr. Spangenberg, specifically structured the           as a                 , rather than a

               , because he found that working with multiple owners made settlement negotiations

in patent litigation very difficult, if not impossible. Second,

                                                                                              Rather, Ms.

Leane, recognizing the value in the Patents, is trying the squeeze as much value out of them as she

can by resorting to breaches of the agreement and fraudulent conduct. In fact, she unilaterally

signed                                                 for both parties in late July of 2015, 3-months
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after the         , and backdated the document to give the appearance that it was signed

contemporaneously. Not only this, but the          would clearly qualify as an

under Section        of                                                                     . In fact,

CBV was not informed of this conduct and had no knowledge of this fraudulent and invalid

until 2020.

          9.      Further, ChanBond and Ms. Leane entered into an October 27, 2015

                by which

                 ChanBond and Ms. Leane                                                  as required

by Section        of the     .

          10.     Through various lawsuits and arbitrations between Ms. Leane and Mr. Carter,

among others, CBV has become aware that Mr. Carter is also asserting the existence of other

agreements which would                                                                and which are

invalid                                      , because

                            Specifically, Mr. Carter has asserted another agreement between Unified

and Mr. Carter under which Mr. Carter receives

                           as well as agreements by which he purportedly

                                                                              and also



          11.     Each of these purported agreements are                      , because they were

entered into                               as required by Section    of the      , and are, therefore,

invalid.




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       12.     Further, Mr. Carter has

These amounts are also improper because they are                                                are

required under Section      of the     .

       13.     Upon information and belief, the result of entering into these purported agreements




       14.     As a result of the above actions, as explained in greater detail below, CBV

respectfully requests judgment in its favor that ChanBond breached the              and requiring

ChanBond to specifically perform the          by

                . In the alternative, CBV requests compensatory damages in an amount to be

determined at trial. CBV also respectfully requests that this Court issue declaratory relief in the

form of a declaration that the       and      are invalid as                 under the      .

                                           JURISDICTION

       15.     This Court has personal jurisdiction over Defendant ChanBond LLC because it is

a limited liability company organized under the laws of the state of Delaware.

       16.     This Court has diversity jurisdiction over this civil matter under 28 U.S.C. §

1332(a)(1) because there is, upon information and belief, complete diversity among the parties and

the amount in controversy exceeds $75,000.00, exclusive of interests and costs.

       17.     Venue is proper in this Court pursuant to the

       in Section        of the      (defined below) under which they



                                           THE PARTIES

       18.     Plaintiff CBV, Inc. is a Pennsylvania corporation with its principal place of

business at 848B North Hanover Street, Carlisle, Pennsylvania 17013.

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       19.     Defendant ChanBond, LLC (“ChanBond”) is a Delaware limited liability company

with its principal place of business at 2633 McKinney Ave., Dallas, Texas 75204. ChanBond was

formed by Deirdre Leane on about August 15, 2014. Its registered agent for service of process is

Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware, 19808. Its Manager

is William “Billy” Carter, an individual resident of North Carolina.

                                 RELEVANT NON-PARTIES

       20.     IP Navigation Group, LLC (“IP Navigation”) was a Texas limited liability company

with a principal place of business located in Dallas, Texas. Upon information and belief IP

Navigation was founded by Erich Spangenberg in 2003. IP Navigation was in the business of

providing patent monetization consulting services to patent owner clients in exchange for an

interest on the recovery generated by the client’s patents, a process that often involves patent

litigation. Upon information and believe, IP Navigation Group, LLC was voluntarily dissolved

after Dierdre Leane took over the business through the newly incorporated entity, IPNav, LLC.

       21.     IPNav, LLC (“IPNav”) is a Texas limited liability company with a principal place

of business located at 6422 Bryan Parkway, Dallas, TX 75214. Dierdre Leane incorporated IPNav,

in order to take over IP Navigation’s business upon the retirement of Erich Spangenberg. Upon

information and belief, Ms. Leane is the sole member of IPNav.

       22.     Upon information and belief, Dierdre Leane is an adult individual, foreign national,

and lawful permanent resident of Texas, residing at 6422 Bryan Parkway, Dallas, TX 75214. Ms.

Leane formed Defendant ChanBond, a Delaware limited liability company, on about August 15,

2014 while she was employed at IP Navigation Group, LLC, which was in the business of

providing patent monetization consulting services to patent owner clients in exchange for an

interest on the recovery generated by the client’s patents. Ms. Leane also incorporated IPNav, LLC

as a new entity through which to engage in this consulting business.
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         23.   UnifiedOnline, Inc. (“Unified”) is a Delaware corporation with a principal place of

business located at 4126 Leonard Drive, Fairfax, Virginia 22030. Upon information and belief,

William “Billy” Carter, ChanBond’s Manager, is Unified’s Chief Executive Officer. On October

27, 2015, Ms. Leane and Unified entered into an



         24.   William “Billy” Carter is an adult individual resident of North Carolina. Upon

information and belief, William “Billy” Carter, ChanBond’s Manager as well as UnifiedOnline,

Inc.’s Chief Executive Officer.



                                  FACTUAL BACKGROUND

I.       The Parties and the Patents

         25.   CBV is a Pennsylvania corporation with its principal place of business at 848B

North Hanover Street, Carlisle, Pennsylvania 17013. Before April of 2015, CBV was the owner

of the following U.S. Patents and U.S. Patent Applications (the “Patents”) which its owners had




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invented and which covered DOCSIS technology for delivering high-speed data over cable

systems:




        26.    Defendant ChanBond is a Delaware limited liability company formed by Deirdre

Leane on about August 15, 2014, while she was employed at IP Navigation, which was in the

business of providing patent monetization consulting services to patent owner clients in exchange

for an interest on the recovery generated by the client’s patents, a process that often involves patent

litigation.




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       27.     On or about October 31, 2014, IP Navigation’s principal, Erich Spangenberg,

decided to retire and turn over his business to Ms. Leane. Ms. Leane incorporated IPNav as a new

entity through which to engage in this consulting business.

II.    The

       28.     In 2013, CBV contacted IP Navigation about potentially monetizing the Patents.

After the initial contact, CBV negotiated a relationship regarding monetization of the Patents with

IP Navigation’s founder, Erich Spangenberg.

       29.     IP Navigation’s literature on its website noted that some cases would be taken on a

consultancy basis, if not on an ownership basis. In negotiations, CBV and IP Navigation discussed

various relationship structures, however Mr. Spangenberg made it clear that he was only

interested in a deal with CBV in which                         because he found that working with

multiple owners made settlement negotiations in patent litigation very difficult, if not impossible.

       30.     Because of the above concern, Mr. Spangenberg proposed an agreement in which




                                                                                This outline formed

the basis for the agreement that was actually agreed upon.

       31.     Ultimately CBV and IP Navigation agreed that

                                                                                      .

       32.     However, upon information and belief, Billy Carter of IP Navigation had problems

coming up with the financial backing necessary to effectuate the agreement. Because of this,

ChanBond was substituted in as             .

       33.     In the fall of 2014, Spangenberg informed CBV that he was retiring and turning his

patent monetization business over to Deirdre Leane. Ms. Leane, through her entity ChanBond,
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                                              . The agreement was essentially the same, but did not

include                                        because of the passing of the new American Invention

Act.

          34.    Because of the problems with Mr. Carter in obtaining financing, CBV informed

Ms. Leane that it was not interested and started in working with Tom McWilliams and an ex-

partner of Kirkland & Ellis.

          35.    Ultimately, CBV was informed that Ms. Leane could make the deal happen and

that the resulting patent lawsuits would be filed within a month.

          36.    With extreme pressure from the other two partners, CBV

                              . By the                                                             ,

CBV, as          , and ChanBond, as             , agreed that

                                                                        . In exchange, CBV

                                                                        . A true and correct copy of

           is attached hereto as Exhibit A.

          37.    Upon information and belief, in or about August of 2015, ChanBond retained

Bentham as its litigation financier. Despite requests for information regarding the financing

agreement between ChanBond and Bentham, CBV has been provided no information on this topic.

          38.    In August of 2015, ChanBond, through its then Manager Ms. Leane induced CBV

and Chanbond to execute an                                                            which

                                                       , as the               provided. A true and

correct copy of the fraudulent                     is attached hereto as Exhibit B.

III.      The Patent Suits

          39.    After signing the       , various patent infringement suits were filed on September

21, 2015 in the United States District Court for the District of Delaware.
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       40.     The defendants to the patent infringement suits filed a total of 14 inter partes review

(“IPR”) petitions to challenge the validity of the 3 asserted ChanBond patents. ChanBond

completely defeated 13 of these IPR requests, and the remaining IPR resulted in the invalidation

of only some claims (the broadest claims) of one of the 3 asserted Patents.

       41.     ChanBond’s claims have also survived two motions for summary judgment.

       42.     Currently, there are 13 patent infringement suits by ChanBond pending in the

District of Delaware against 13 separate defendants (the “Patent Suits”):

         •     ChanBond, LLC v. WideOpen West Finance, LLC, No. 1:15-cv-00854 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. WaveDivision Holdings, LLC, No. 1:15-cv-00853 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. Time Warner Cable Inc. et al, No. 1:15-cv-00852 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. RCN Telecom Services, LLC, No. 1:15-cv-00851 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. Mediacom Communications Corporation, No. 1:15-cv-00850
               (D. Del. Sep 21, 2015)

         •     ChanBond, LLC v. Cox Communications, Inc. et al., No. 1:15-cv-00849 (D. Del.
               Sep 21, 2015)

         •     ChanBond, LLC v. Comcast Corporation et al., No. 1:15-cv-00848 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. Charter Communications, Inc., No. 1:15-cv-00847 (D. Del. Sep
               21, 2015)

         •     ChanBond, LLC v. Cequel Communications, LLC et al., No. 1:15-cv-00846 (D.
               Del. Sep 21, 2015)

         •     ChanBond, LLC v. Cablevision Systems Corporation et al., No. 1:15-cv-00845 (D.
               Del. Sep 21, 2015)

         •     ChanBond, LLC v. Cable One Inc., No. 1:15-cv-00844 (D. Del. Sep 21, 2015)

         •     ChanBond, LLC v Bright House Networks, LLC, No. 1:15-cv-00843 (D. Del. Sep
               21, 2015)
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           •    ChanBond, LLC v. Atlantic Broadband Group, LLC, et al., No. 1:15-cv-00842 (D.
                Del. Sep 21, 2015)

       43.      By Stipulation and Order dated March 6, 2017, the above Patent Suits were

consolidated.

       44.      On May 25, 2021, a jury trial was held before Judge Richard G. Andrews on the

above Patent Suits.

       45.      On July 12, 2021, Judge Andrews entered a Joint Stipulation and Order for

dismissal of the Patent Suits with prejudice as a result of the parties agreement to “settle, adjust

and compromise all claims” in the Patent Suits.

IV.    The Invalid

       46.      As noted above in Section II, supra, in the preliminary negotiations regarding

monetization of the Patents, various structures were discussed, but, ultimately, Mr. Spangenberg

required                            . CBV and IP Navigation never agreed on any

                                .

       47.      Nevertheless, upon information and belief, in July 2015, Ms. Leane asked IP

Navigation’s in-house counsel to review a draft                                                      ,

backdated to reflect that it had been in effect since April of 2015 contemporaneous with the

(despite that it was not). Upon information and belief, on or about July 31, 2015, Ms. Leane

improperly executed the        on behalf of both                         , and dated it as of April 9,

2015. Pursuant to the invalid, unilaterally entered

                                                   , despite that the parties to the PPA never agreed

to such an arrangement. A true and correct copy of the purported        is attached hereto as Exhibit

C.




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       48.     CBV was never informed of the                . Rather, CBV learned of the invalid,

unilateral      through an arbitration filed by Ms. Leane against Unified and ChanBond in 2020,

AAA Case No. 01-20-0015-0793.

       49.     Upon information and belief, upon engaging Bentham, Ms. Leane learned that the

true value of the Patents was much higher than she had thought. In order to get more money for

herself out of the Patents, she unilaterally, fraudulently, and in breach of the      , fashioned the

     in order to

V.     Leane, on behalf of ChanBond, Breaches the                by


       50.     On October 27, 2015, Leane, ChanBond, and Unified entered into an

                     by which Leane                                                            A true

and correct copy of the      is attached hereto as Exhibit D.

       51.     The        called for




                                                   The        also identifies and adopts the



       52.     Upon information and belief, upon

         Ms. Leane made Mr. Carter ChanBond’s sole manager. Mr. Carter also has a controlling

interest in, and is CEO of, Unified.

       53.     Section     of the      provides, in full:




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Ex. A at Sec.        (emphasis added).

        54.         Under Section      of the



        55.     Upon information and belief, pursuant to the

                              Such a        necessarily implicated ChanBond’s rights and obligations

under the       .

        56.     However, CBV was never informed of the                  at all, let alone in writing. CBV has

requested documentation regarding the               , but has been refused and stonewalled by ChanBond.

Rather, CBV learned of the           through Ms. Leane’s 2020 arbitration demand against Unified and

ChanBond. As such, the              and resulting                                          is a breach of the

      and is invalid.

        57.     In addition, in negotiation of the          , Mr. Carter was represented by Mark Raskin

of the law firm King & Wood Mallesons LLP and ChanBond was represented by Robert Whitman

of King & Wood Mallesons LLP. This is a clear conflict of interest.

        58.     After learning of the           , CBV had legitimate concerns regarding its validity As

such, CBV requested a copy of the            to review. However, ChanBond and Ms. Leane’s attorneys

refused CBV’s request, asserting that CBV had no right to review the contract.

VI.     The Lawsuits Settle and CBV Is Entitled to                                         But ChanBond
        Refuses to Pay

        59.     Settlement discussions in the Patent Suits were sporadic over the course of the

litigations, and the parties were an order of magnitude apart.

        60.     For the first time, by her attorney’s demand letter dated August 29, 2020, Ms. Leane

asserted that the                     provision in the       gave her

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                             However, ChanBond has never suggested that it would assign the

Patents to settle these cases, with or without Ms. Leane’s approval.

        61.      Despite this, as noted in Section III, supra, on July 12, 2021, Judge Andrews

entered a Joint Stipulation and Order for dismissal of the Patent Suits with prejudice as a result of

the parties agreement to “settle, adjust and compromise all claims” in the Patent Suits.

        62.      Upon information and belief, the settlement of the various Patent Suits was pursuant

to a settlement agreement entered into in late June or early July of 2021 (the “Settlement

Agreement”).

        63.      Upon information and belief, pursuant to the Settlement Agreement, the Patent

Suits settled for                 However, CBV has been stonewalled by ChanBond as to specific

information regarding the Settlement Agreement. Despite requests from CBV, ChanBond has

refused to provide a copy of the Settlement Agreement, an accounting of the settlement funds, or

any other specific information allowing CBV to determine the proper amount it should receive.

This is contrary to, and in breach of, contractual language in the

                                        Specifically, Section    of the      reads, in full:




Ex. A. at Sec.      . Despite that ChanBond has made payment of                     to CBV, only a

fraction of the amounts due pursuant to the        , ChanBond has refused to provide CBV with a

copy of the Settlement Agreement, an accounting of disbursements, or any other information

permitting CBV to determine the exact amount it is due and owed under the           .




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       64.      Under Section       of the       , CBV

                . Section       of the       reads, in full:




Ex. A at Sec.




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       65.      Under Section        of the




                                                                          Ex. A at Sec.     .

       66.      Section     of the                     requires

                                                                                            No such

                  has been provided. That Section provides, in relevant part:




Ex. B at Sec.

       67.      No such                       has been provided to CBV.

       68.      Upon information and belief, under the framework for payment laid out in Section

     of the        , because the Patent Suits were settled for                   taking into account

                                                                      , CBV is entitled to payment

in the amount of                        inclusive of                                      . CBV was

notified of this amount by King & Wood Malleson LLP in a July 14, 2021 email from Mark Raskin,

a true and correct copy of which is attached hereto as Exhibit E. See Ex. E. However, upon

information and belief, CBV is entitled to a much greater amount. For example, King & Wood


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Malleson LLP is only entitled to                                                , rather than

                 and Bentham is only entitled to                                    , rather than

                                                          as claimed by ChanBond.

        69.     As of the date of filing, CBV has only received

                           — a small portion of the amounts it is due under the          . Therefore,

ChanBond is still required to pay CBV

        70.     As a result of Defendant’s refusal to pay Plaintiff the funds it is owed under the

       Plaintiff will suffered certain negative tax implications. Specifically, Congress has passed (at

least one house) an increase in the capital gains tax effective Sept 13, 2021. The new capital gains

tax percentage will be 25% versus the old number of 20%.

VII.    Deirdre initiates false and misleading legal actions.

        71.     In or about 2020, Ms. Leane filed numerous lawsuits and arbitrations against

Unified, ChanBond, Mr. Carter and the partners of King & Wood Malleson LLP, among others. 3

        72.     Among other things, Ms. Leane has alleged in her suits that CBV and ChanBond

signed an agreement                                                                    . Further, Ms.

Leane alleges that she informed KWM and Billy Carter that CBV signed the                at the time of

execution of the                . She has claimed to have a copy of the           signed by CBV on

April 9, 2015, but has failed to provide documentation of this upon requests and CBV has serious

doubts of the authenticity of any such document.




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 Dierdre Leane and IPNav, LLC v. UnifiedOnline, Inc. and ChanBond, LLC, AAA Case No. 01-
20-0015-0793; Dierdre Leane and IPNav, LLC v. Mishcon De Reya LLP, Mishcon De Reya New
York LLP, King & Wood Mallesons LLP, Robert Whitman, and Mark Raskin, C.A. No 1:20-cv-
08127-PGG (N.Y. Sup. Ct. September 29, 2020)

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        73.       None of these assertions are true. As explained above in Section II, supra, CBV

never agreed to                              at the time of entry into the        . Rather, Ms. Leane,

unilaterally executed the        for both parties to that transaction without any knowledge, input, or

agreement by CBV. In fact, Ms. Leane was not involved in the initial negotiations between CBV

and IP Navigation, outside of the very first meeting between the parties.

        74.       At no time was any                            discussed nor included or attached to the

      nor the                        . Further, the        includes an                   in Section

which reads, in full:




Ex. A at Sec.        (emphasis added).

        75.       Section       of the            itself belies Ms. Leane’s claim that the            was

contemplated as part of the              transaction. It was not. The

                                                              . And, therefore, the     is void.

        76.       Further, Section       of the

                                                                                           That Section

reads, in full:



                                                      18
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Ex. A at Sec.     (emphasis added).

       77.      The       further




       78.      Because Ms. Leane stood on both sides of the        transaction and executed the

     between ChanBond and Unified for both parties, the        was clearly an

requiring                                                               . Ms. Leane fraudulently

drafted, backdated, and executed the      without ever discussing the contract with CBV. Rather,

CBV only learned of the         existence through Ms. Leane’s various lawsuits. As such, the

is improper and is void                    .




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                                              COUNT I
                                        (Specific Performance)

       79.     Plaintiff incorporates the averments contained in the preceding paragraphs, with the

same force and effect as if fully set forth herein.

       80.     On or about April 9, 2015,

                    , which is a valid and binding agreement between the parties.

       81.     Plaintiff has fully, and in good faith performed all conditions and obligations under

the     .

       82.     In or about late June or early July of 2021, the Patent Suits were settled pursuant to

the Settlement Agreement.

       83.     Upon information and belief, the Patent Suits settled for

       84.     Section




       85.     Therefore, under Section           of the    , taking into account



              CBV reasonably believes that it is entitled to greater than this amount. However, it

has been stonewalled by ChanBond at every turn regarding any information about the settlement,

funds disbursements, etc. ChanBond has refused to provide CBV with a copy of the Settlement

Agreement, an accounting of funds disbursements, or any other information regarding the




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settlement funds, despite requests from CBV and despite

             under Section         of the   .

       86.     Despite Plaintiff’s entitlement to these funds, Defendant refuses to pay Plaintiff

                               from the Patent Suits as required by Section          of the     , only

releasing                to CBV.

       87.     Further as a result of Defendant’s refusal to pay Plaintiff the funds it is owed under

the     , Plaintiff will suffer certain negative tax implications. Specifically, if payment is not made

by the end of calendar year 2021, CBV will potentially be subject to an increased capital gains tax

(i.e. 25% rather than 20%).

       88.     CBV is entitled to an order specifically enforcing the provisions of                and

requiring Defendant ChanBond to immediately distribute to CBV its portion

from the Patent Suits.

       89.     Plaintiff lacks an adequate remedy at law. Money damages would be insufficient

to cure Defendant’s breaches of the         . Specifically, money damages are insufficient because

ChanBond refuses to provide CBV with documentation of the Settlement Agreement,

disbursement amounts, or any other information allowing CBV to confirm the exact amount that

it is due and owed under the

       90.     The equities weigh in favor of ordering specific performance, including

performance of Defendant’s obligations

      pursuant to Section          of the   .

                                            COUNT II
                      (Breach of Contract – Section  – in the alternative)

       91.     Plaintiff incorporates the averments contained in the preceding paragraphs with the

same force and effect as if fully set forth herein.


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       92.      On or about April 9, 2015,                                                  , which is a

valid and binding agreement between the parties.

       93.      Plaintiff has fully, and in good faith performed all conditions and obligations under

the     .

       94.      Section       of the

                                                    .

       95.      In or about late June or early July of 2021, the Patent Suits were settled pursuant to

the Settlement Agreement.

       96.      Upon information and belief, the Patent Suits settled for                   .

       97.      Upon information and belief, under Section                of the



                   . CBV believes it is entitled to a greater amount, but its requests for the

Settlement Agreement and related information has been repeatedly refused by ChanBond.

       98.      Despite Plaintiff’s entitlement to these funds, Defendant refuses to pay Plaintiff

                                                        as required by Section     of the       , having

released only              without any accounting or other documentation.

       99.      Defendant has breached the          by refusing to pay Plaintiff

                                 as required by Section          of the        .

       100.     Defendant’s breaches of the               has harmed Plaintiff in an amount to be

determined at trial, but believed to be at least                 plus interest.

       101.     Further Defendant’s breach of the           by

                       will cause Plaintiff to suffer certain negative tax implications. Specifically,

if payment is not made by the end of calendar year 2021, CBV will be subject to an increased

capital gains tax (i.e. 25% rather than 20%).
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                                           COUNT III
                                 (Breach of Contract – Section     )

       102.     Plaintiff incorporates the averments contained in the preceding paragraphs with the

same force and effect as if fully set forth herein.

       103.     On or about April 9, 2015,

                      , which is a valid and binding agreement between the parties.

       104.     Plaintiff has fully, and in good faith performed all conditions and obligations under

the     .

       105.     Section      of the       provides, in full:




Ex. A at Sec.     (emphasis added).

       106.     Under Section         of the



       107.     The                                                                      necessarily

implicated ChanBond’s rights and obligations under the

       108.     However, CBV was                                                           . Rather,

CBV learned of the         through Ms. Leane’s 2020 arbitration filing.

       109.     Therefore, Defendant ChanBond, through Ms. Leane, has breached Section            of

the      by

                                                               .



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       110.     Defendant’s breaches of the               has harmed Plaintiff in an amount to be

determined at trial.

                                               COUNT IV
                                       (Declaratory Judgment -     )

       111.     Plaintiff incorporates the averments contained in the preceding paragraphs, with the

same force and effect as if fully set forth herein.

       112.     On or about April 9, 2015,

                       which is a valid and binding agreement between the parties.

       113.     Plaintiff has fully, and in good faith performed all conditions and obligations under

the

       114.     Section       of the       provides, in full:




Ex. A at Sec.     (emphasis added).

       115.     On or about October 27, 2015, Ms. Leane and ChanBond

                                       . Such a        necessarily implicated ChanBond’s rights and

obligations under the         .

       116.     Defendants



       117.     Defendant’s                                                                 violated

Section     of the        .



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       118.    An actual controversy exists between the parties as to the validity of the                     ,

                                       , under Section      of the           .

       119.    Plaintiff therefore respectfully requests that the Court issue an Order declaring that:

               a.      Defendant breached the                   by

                                                                                     ;

               b.      As a result of Defendant’s breach of the                  and lack of authority to enter

                       into the        , the      is invalid.

                                            COUNT V
                                   (Declaratory Judgment -               )

       120.    Plaintiff incorporates the averments contained in the preceding paragraphs, with

the same force and effect as if fully set forth herein.

       121.    Ms. Leane has asserted that ChanBond and IPNav signed an agreement for

                                                                     . Further, Ms. Leane asserts that she

informed King & Wood Malleson LLP and Billy Carter that CBV signed the                           at the time of

execution of the               .

       122.    On or about April 9, 2015,

                    , which is a valid and binding agreement between the parties.

       123.    Plaintiff has fully, and in good faith performed all conditions and obligations under

the     .

       124.    Section        of the           contains




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          125.   Further Section          of the   , which                               requires that




          126.   At the time of the         and       , both IPNav and ChanBond were controlled by

Ms. Leane. As a result, IPNav                                                  A, and the      would

require                               .

          127.

          128.   Upon information and belief, Ms. Leane executed the           for both ChanBond and

IPNav in July of 2015 and backdated the document to appear as if it was executed

contemporaneously with the            in April of 2015.

          129.   Therefore, Defendant ChanBond, through Ms. Leane, has breached Section            of

the        by purporting to enter into the improper

          130.   Defendant’s breaches of the              has harmed Plaintiff in an amount to be

determined at trial.

                                               COUNT VI
                                           Against ChanBond
                                      (Declaratory Judgment -       )

          131.   Plaintiff incorporates the averments contained in the preceding paragraphs, with the

same force and effect as if fully set forth herein.

          132.   Ms. Leane has asserted that ChanBond and IPNav signed an agreement

                                                                e. Further, Ms. Leane asserts that she

informed King & Wood Malleson LLP and Billy Carter that CBV signed the                  at the time of

execution of the

          133.   On or about April 9, 2015,

                       , which is a valid and binding agreement between the parties.
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          134.   Plaintiff has fully, and in good faith performed all conditions and obligations under

the       .

          135.   Section       of the             contains




          136.   Further Section            of the                                               requires that




          137.   At the time of the           and            , both IPNav and ChanBond were controlled by

Ms. Leane. As a result,                                                                  , and the     would

require                               .

          138.                                                                  .

          139.   Upon information and belief, Ms. Leane executed the                   for both ChanBond and

IPNav in July of 2015 and backdated the document to appear as if it was executed

contemporaneously with the            in April of 2015.

          140.   An actual controversy exists between the parties as to the validity of the                  ,

                                          , under Section        of the    .

          141.   Plaintiff therefore respectfully requests that the Court issue an Order declaring that:

                 a.     Defendant breached the                  by entering into the

                                              ;

                 b.     As a result of Defendant’s breach of the               and

                                          , the        is invalid.




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                                            COUNT VI
                                         (Injunctive Relief)

       142.    Plaintiff incorporates the averments contained in the preceding paragraphs, with the

same force and effect as if fully set forth herein.

       143.    In April 9, 2015, CBV, as                 and ChanBond, as             , agreed that




       144.    The         is a valid and binding agreement between the parties.

       145.    Plaintiff has fully, and in good faith performed all conditions and obligations under

the     .

       146.    Since entry into the       , ChanBond and Unified, through their former and current

Managers, Ms. Leane and Mr. Carter, entered into various agreements and

                                                             . These agreements and alterations were

entered into                                   .

       147.    Upon information and belief, the Patent Suits settled in late June or early July of

2021 for

       148.    CBV has been informed that it is entitled to                               from the

settlement amounts. However, only                     has been disbursed by ChanBond to CBV.

       149.    Upon information and belief, CBV is entitled to a much greater amount from the

settlement, but has been stonewalled by ChanBond in its requests for the Settlement Agreement or

any related information.




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       150.    Section      of the        requires an

                                                                          No such

has been provided.

       151.    Further, Section      of the      requires that



                      Such requests from CBV to ChanBond have been unreasonably refused to

date. A failure to receive such an accounting will result in diversion of funds due to CBV to

accounts outside the US, with Ms. Leane being a citizen of the United Kingdom, and will cause

irreparable harm to CBV.

       152.    Plaintiff therefore respectfully requests that the Court issue an Injunction barring

disbursement of any payments from the settlement amount to any parties before an accounting has

taken place and                   distributed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, CBV, Inc., respectfully requests that judgment be granted in its

favor awarding the following relief:

       a.      Specific performance of the         , including specific performance of     Section

                     requiring that Defendant pay Plaintiff

                                                                     and provision by ChanBond to

               CBV of the Settlement Agreement, an accounting of disbursements, and any other

               information reasonably necessary for CBV to determine the exact, proper amount

               that it is due and owed under the        ;

       b.      In the alternative, compensatory damages for the amount of the late payment due

               to CBV under the        , the losses incurred due to delayed payment, including the



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             significant tax consequences, and damages resulting from ChanBond’s entry into

             the improper                                                   .

      c.     A declaration regarding the        that:

              i.   Defendant breached the

                                                               ;

             ii.   As a result of Defendant’s breach of the         and

                               , the       is invalid.

      d.     A declaration regarding the         that:

              i.   Defendant breached the            by entering into the

                                       ;

             ii.   As a result of Defendant’s breach of the         and

                                , the        is invalid.

      e.     An Injunction barring disbursement of any payments from the settlement amount

             to any parties before an accounting has taken place                    distributed.

      f.     Attorneys’ fees, costs, and expenses to the extent permitted by law; and

      g.     Such other and further relief as this Court deems just and appropriate under these

             circumstances.



                                             BUCHANAN, INGERSOLL & ROONEY PC

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